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Case 1:20-rj-00004 Document 4 Filed 03/06/20 USDC Colorado Page 2 of 2

PROOF OF SERVICE
This writ of garnishment to Garnishee was served by me:

| personally served the Writ of Garnishment on the
individual at (place) OUuMe- - C6 ry
On (date) 5 LW £20 ior

[_] | left the Writ of Garnishment at the individual’s residence or usual
place of abode with (name)

 

, a person of suitable age and discretion who resides

 

on (date) , and mailed a copy to the individual’s last known address; or

 

| | served the Writ of Garnishment on
(name of individual) , who is

 

designated by law to accept service of process on behalf of (name of
organization)

 

on (date) - or
r

 

C] Other

(specify):

| declare under penalty of perjury that this information is true.

pate: & /| 1120 Gap f pee ee

Server's signature

Brittney Clece

Printed nume and title

I20 W sth pue Dunwer, & 80224

Server’s address

Additional information regarding attempted service, etc:
